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                                                 Tuesday, 26 February, 2019 04:23:15 PM
                                                           Clerk, U.S. District Court, ILCD




                                                 4:19-mj-06409




                                   s/ Jereme Hatler




                                  s/ Jonathan E. Hawley
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                                 s/ Jereme Hatler




s/ Jonathan E. Hawley
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